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Case No. CV.98-2817 RAP (CWx) Date and Filed: January 20, 2000

 

 

PRESENT:
THE HONORABLE RICHARD A. PAEZ, JUDGE
___Valencia R. Vallery __ n/a
Courtroom Clerk Court Reporter
PROCEEDINGS: (IN CHAMBERS)

Pending before the Court is the Government’s request for an indication
from the Court whether it would be willing to entertain the Government's
motion for reconsideration of the Court’s September 21, 1999 summary judgment
to include an award of prejudgment interest. The motion is deemed submitted
without argument. Upon consideration of the Government's request, the Court
now indicates that it is not willing to entertain the Government’s motion for
reconsideration. Although the Court lacks jurisdiction to rule on the
Government's motion, it appears to the Court that the Government is not
likely to succeed on its proposed motion.

The Government failed specifically to request prejudgment interest in
any of the papers it filed with this Court in connection with its second
summary judgment motion. The Government argues that it was sufficient that
it requested in some of its pleadings that the Court award the amount due,
“plus any interest thereon.” The Court disagrees. The Court was not put on
notice that the Government sought prejudgment interest until the filing of
the pending motion. The Court did not understand the Government’s request for
“interest thereon” to encompass prejudgment interest. This was in part
because the Government did not offer any argument or evidence that it was
entitled to prejudgment interest or the amount of any such award. Moreover,
it appeared from the Government's own analysis of the merits of the
underlying claim that it might not be entitled to the full amount it sought.
Thus, the Court understood the Government’s request for “interest thereon” to
include only postjudgment interest on any amount awarded by the Court.

In its proposed motion for reconsideration, the Government has cited a
Code of Federal Regulations provision in support of its request, 30 C.F.R.

 

 

   

 

 

 

 

 

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former § 221.80. This provision has not previously been cited to the Court.

Prejudgement interest differs from postjudgment interest in that it “is an
element of [the party’s] complete compensation.” West Virginia vy. United
States, 479 U.S. 305, 310, n.2 (1987). A prejudgment interest request
involves “[re]consideration of matters encompassed within the merits of a

judgment.”  Osterneck v. Ernst & Whinney, 489 U.S. 169, 176 (1989). A

request for such relief must, therefore, be explicit.

Thus, in the Court’s view, the Government would not be entitled to
relief under Federal Rule of Civil Procedure 60(a) or (b). Not having been
notified that the Government would be seeking such relief, the Court’s
omission of any reference to prejudgment interest in its Order and Judgment
cannot be said to be a “clerical mistake” or “mistake,” “inadvertence” or
“neglect.” Fed. R. Civ. Proc. 60(a); (b). Therefore, the Government could
only have sought prejudgment interest by filing a motion to alter or amend
the judgment under Federal Rule of Civil Procedure 59(e). Such a motion
would have had to have been filed within ten (10) days of the entry of the
Judgment. Schake v, Colt Industries Operating Corporation Severance Plan,
960 F.2d 1187 (3 Cir. 1992) (finding that district court lacked jurisdiction
to grant prejudgment interest, in part, because the party failed to apply for
the relief within 10 days of the entry of final judgment under Fed. R. Civ.
Proc 59(e)}.

The Government waited two months before filing its proposed motion. The

motion is untimely. Accordingly, the Government’s request for an indication
of whether it would entertain a motion for reconsideration igs DENIED.

IT IS SO ORDERED.

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